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                                                           March 30, 2017

Hon. Michael E. Wiles, U.S.B.J.
United States Bankruptcy Court
Southern District of New York
One Bowling Green
New York, NY 10004

          Re: In re: Scandia Seafood (New York), Inc., chapter 7 case no 17-10744 (MEW)

Dear Judge Wiles:

       The undersigned represents certain of the petitioning creditors (Movants) in the above
captioned involuntary chapter 7 case. Enclosed please find for your consideration the following:

          1. Movants’ ex parte Motion for examination under Fed. R. Bankr. P. 2004,
          2. a proposed order with an Exhibit A, consisting of seven proposed subpoenas, and
          3. a CD ROM with a digital copy of the Proposed Order and Exhibit A.

       If the Motion and Proposed Order meets with Your Honor’s approval, we would
respectfully request that the same be entered, subject to such modification, if any, as Your Honor
deems appropriate.

          Thank you for your consideration of this matter.

          Respectfully submitted,




          Douglas T. Tabachnik

Enclosures

          1
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